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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


UNITED STATES OF AMERICA

 V.                                                   Criminal No.2:22mj280


RAHEIM HAMILTON,

                        Defendant.

                                          ORDER

         This matter comes before the Court on its own initiative. In accord with the Due Process

Protections Act and Rule 5(f) of the Federal Rules of Criminal Procedure, this Court CONFIRMS

the United States' obligation to disclose to the defendant all exculpatory evidence, that is, evidence

that favors the defendant or casts doubt on the United States' case, as required by Brady v.

Maryland, 373 U.S. 83 (1963) and its progeny, and hereby ORDERS the United States to do so.

Failure to disclose exculpatory evidence in a timely manner may result in serious consequences,

including, but not limited to, exclusion ofevidence, adverse jury instructions, dismissal ofcharges,

contempt proceedings, disciplinary action, or sanctions by the Court.

         The judge presiding over the first scheduled court date when both prosecutor and defense

counsel are present shall give oral notice of the provisions in this Order. The presiding judge,

pursuant to the Due Process Protections Act,shall also enter a written order in compliance with this
Order.


         Having given counsel the oral admonition required by the Due Process Protections Act,

this Order serves as the reminder of prosecutorial obligation and duties in accordance with Rule

5(f) and the Eastern District of Virginia Standing Order concerning the same.
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       It is so ORDERED.                                       /s)!^»A
                                                 Doijgias E.
                                                 Unileci Slates Magistrate Judge
                                              Douglas E. Miller,
                                              United States Magistrate Judge

Date: December 21, 2022
Norfolk, Virginia
